      Case 2:19-cv-00239-GMS Document 10 Filed 03/26/19 Page 1 of 1



 1
 2
 3
 4
 5
 6                       IN THE UNITED STATES DISTRICT COURT
 7                               FOR THE DISTRICT OF ARIZONA
 8
 9   Ronald H. Pratte,                                 No. CV-19-00239-PHX-GMS
10                  Plaintiff,                         ORDER
11   v.
12   Jeffrey Bardwell, et al.,
13                  Defendants.
14
15          Pending before the Court is an Application for Substitution of Counsel (Doc. 9),
16   requesting that attorneys Gregory B. Collins and Zachary R. Fort of Kercsmar & Feltus
17   PLLC be substituted in place of Brian M. Flaherty of Sacks Tierney P.A. as counsel of
18   record for Plaintiff. Having considered this request,
19          IT IS ORDERED that the Application for Substitution of Counsel (Doc. 9) is
20   granted.
21          IT IS FURTHER ORDERED that Gregory B. Collins and Zachary R. Fort of
22   Kercsmar & Feltus PLLC are substituted as counsel of record for Plaintiff Ronald H. Pratte.
23          Dated this 26th day of March, 2019.
24
25
26
27
28
